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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

1n re: Chapter 1 1
LAST CALL GUARANTOR, LLC, et al.,l Case No. 16-11844 (KG)
Debtors. (Jointly Adrninistered)

Ref. Docket No. 800

 

ORDER PURSUANT TO 11 U.S.C. §§ 105(a), 305(a), 349, 363, 554, AND 1112(b)
AND FED. R. BANKR. P. 1017(a) and 6007: (A) DISMISSING DEBTORS’
CHAPTER 11 CASES AND (B) GRANTING RELATED RELIEF

Upon consideration of the motion (the “1\/[0ti0n”)2 of the Debtors for entry of an order,
pursuant to sections 105(a), 305(a), 349, 363, 554, and 1112(b) of the Bankruptcy Code and
Bankruptcy Rules 1017(a) and 6007: (a) dismissing the Chapter 11 Cases, and (b) granting
related relief, including, Without limitation, (i) authorizing, but not directing, the Debtors to
abandon any remaining assets, (ii) authorizing, but not directing, the Debtors to abandon, destroy
or turnover to the Purchaser (defmed below), if agreed to by Purchaser, any and all Books and
Records, (iii) approving procedures for filing and approving final fee applications and providing
for payment of approved fees, and (iv) directing the Debtors to be dissolved; and the Court
having jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C.

§§ 157(a) and (b) and 1334(b) and the Amended Smncz’ing Ora’er; and consideration of the

l\/Iotion and the relief requested therein being a core proceeding pursuant to 28 U.S.C.

 

The Debtors in these Chapter 11 Cases, along with the last four (4) digits of each Debtor’s federal tax
identification number, if applicable, are: Last Call Guarantor, LLC, Last Call Holding Co. l, Inc. (3962), Last
Call Holding Co. 11, 1nc.(8727), Last Call Operating Co l., lnc. (3541), Last Call Operating Co Il., lnc. (8272),
FHR IP, Inc. (0107), CR IP, Inc. (3776)7 KS liast Call Inc. (148()), and l\/ID Last Call lnc. (9190). The Debtors"
business address is 19111 Dallas Pkwy, Unit 370, Dallas, TX 75287.

Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the l\/lotion.

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§ 157(b)(2) in which the Court may enter a final order; and venue being proper pursuant to 28
U.S.C. §§ 1408 and 1409; and notice of the Motion being sufficient; and the Court having
conducted a hearing on the Motion at which time all parties in interest were given an opportunity
to be heard; and any objections filed with respect to the l\/lotion having been withdrawn or overruled
by the Court or resolved by the terms of this Order; and after due deliberation and sufficient cause
appearing therefor; IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

1. The Motion is GRANTED as set forth herein.

2. A final omnibus fee hearing will be held on ' ed % , 2017 at
[]Q?m] B].ni. (prevailing Eastern Time) (the “Final Fee Hearing”). Not later than twenty
(21) days prior to the Final Fee Hearing, all Professionals retained in the Chapter 11 Cases shall
file final requests for allowance and payment of all fees and expenses incurred during the
Chapter 11 Cases (the “Final Fee Applications”) in accordance with the Bankruptcy Code, the
Bankruptcy Rules, the Lacal Rules of Bankruptcy Practice and Pracedure af the Unl`ted Slales
Bankruptcy Court far the Di.s'trict of Delaware, and the Adrnz'nz'stralz`ve Order Esrabli.s'hing
Pracedures far Fz'nal, [nterl`m, and Manlhly Campensalion and Rel`mburse)nent afExpenses of
Pr()_fé.s'sionals Relaz'ned in /hese Chapter l 1 Cases and Rez`mbursement ofExpenses afC/'amnil'tlee
Me)nbers Appainted in these Chapter 11 Cases [D.I. 308] so as to be heard at the Final Fee
Hearing. Any objections to the Final Fee Applications shall be filed and served on counsel for

the Debtors, counsel for the Committee and on the Professional whose fees are being objected by

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4:00 p.m. (prevailing Eastern Time) on fl 2£.¢, f 5 ], 2017.

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3. As soon as is practicable after the Final Fee Hearing, the Debtors shall file
a certification of` counsel (a “Certification”), substantially in the form attached hereto as

Exhibit l, that, among other things, certifies (i) the Debtors have paid all quarterly fees of the

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U.S. Trustee have been paid in full and (ii) the Professionals have been paid the agreed upon
amounts for their respective allowed fees and expenses from the Professional Fee Escrow.

4. Pursuant to sections 1112(b) and 305(a) of the Bankruptcy Code, the
Debtors’ Chapter 11 Cases shall be dismissed effective upon the filing of the Certification, and
the Clerk of the Court is directed to note such dismissal on each of the Debtors’ dockets.

5. The Certification and this Order may be served on the general service list
established in these Chapter 11 Cases, including the U.S. Trustee; provided th_at, the Debtors
need not send the Certification and Order to the Debtors’ entire matrix of creditors and parties-
in-interest, as such parties received reasonable notice of the proposed dismissal through notice of
the hearing on the l\/lotion.

6. Notwithstanding section 349 of the Bankruptcy Code, all agreements,
stipulations, settlements, rulings, orders and judgments approved by or entered by this Court in
the Chapter 11 Cases on or before the filing of the Certification and dismissal of the Debtors’
Chapter 11 Cases (including, but not limited to, the Sale Order) shall remain in full force and
effect (including, without limitation, any releases, injunctions and successor liability provisions
provided for in the Sale Order) and shall survive the dismissal of the Chapter 11 Cases. ln
addition, any payments made during these Chapter 11 cases shall not be challenged by any
persons or entities, including, without limitation, any such payments made in accordance with
such agreements, stipulations, settlements, rulings, orders and judgments approved by or entered
by this Court, including, without limitatioii, payments made to the Debtors’ professionals
Committee’s professionals and the Debtors’ sole director and restructuring manager.

7. Greenberg Traurig, LLP is directed to wire transfer $29,351 to Epiq

Systems, lnc. from thc Professional Fee Escrow within five (5) days of entry ofthis Order, which

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amount shall be a partial payment of the remaining amounts due and owing by the Debtors to
Epiq Systems, lnc.

8. Upon filing of the Certification, the Debtors shall remit all Winddown
Cash to the Purchaser, net of any outstanding checks, wires, other debits or amounts that remain
due and owing to Epiq Systems, lnc.

9. Pursuant to sections 105(a) and 554 of the Bankruptcy Code and
Bankruptcy Rule 60()7, the Debtors are authorized, but not directed, to abandon any remaining
assets. ln addition, the Debtors are authorized, but not directed, to abandon, destroy or turnover
to the Purchaser any and all Books and Records provided that if the Debtors elect to turnover
such Books and Records to Purchaser, Purchaser must agree to such turnover. lf the Debtors
elect to destroy any Books and Records, the Debtors shall provide ten (10) days written notice to
Purchaser and Purchaser’s counsel via electronic mail of such proposed destruction, which ten
(1()) day notice period shall begin to run from the date that the electronic mail is sent. lf
Purchaser wishes to copy such Books and Records prior to the disposal or to accept turnover of
such Books and Records, Purchaser must provide written notice of such election to the Debtor
and its counsel via electronic mail prior to the expiration of the ten (10) day notice period.

l(). Effective immediately upon the filing of the Certification and the
dismissal of the Debtors’ Chapter 1 1 Cases, without the need for further action on the part of this
Couit and without the need for further corporate action or action of the boards of dii'ectors,
managers, stockholders, or members, as applicable, of the Debtors, each of the Debtors’ officers,
directors, and managers shall be deemed to have resigned, the Debtors shall be deemed dissolved

and the business and affairs of the Debtors shall be deemed wound up, pursuant to applicable

 

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state law. No further action shall be required to wind up the affairs of any Debtor in accordance
with applicable state law.

11. Effective immediately upon the filing of the Certification and the
dismissal of the Debtors’ Chapter 11 Cases, each Debtor is authorized, but not required, to
execute and file all documents necessary and proper to effectuate and consummate their
dissolution and/or cancellation, as applicable, in accordance with applicable state law, including,
without limitation, a certificate of dissolution or a certificate of cancellation, as applicable, and
the Debtors shall not be required to pay any taxes or fees in order to cause such dissolution
and/or cancellation Each officer, director or manager, as applicable, of such Debtor be, and
hereby is, authorized, but not required, to do and perform all such acts and things, to execute,
deliver and file (or cause the filing of) such documents and certificates, including, without
limitation, a certificate of dissolution or a certificate of cancellation, as applicable, and to take
such other steps as may be necessary, convenient or desirable to carry out the dissolution and/or
cancellation of such Debtor.

12. Effective immediately upon the filing of the Certification and the
dismissal of the Debtors’ Chapter 11 Cases, the Debtors’ retention of Greenberg Traurig LLP as
bankruptcy counsel shall be terminated without the need for further action on the part of this
Court, the Debtors, or Greenberg Traurig.

13. Subject to any prior Orders of this Court, nothing herein shall constitute a
waiver, dismissal or release of, any and all rights and remedies or defenses that Uiiified
l\/lerchant Services may have against any party to the October 22, 2007 l\/lerchant Services
Agreement or any other agreement related to servicing, processing, investigation or remediation

of the systems used for Visa and l\/lasterCard transactions conducted at the Debtors’ locations

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14. The Debtors are hereby authorized and empowered to take any and all

steps necessary and appropriate to effectuate the terms of this Order.

15. To the extent applicable, Bankruptcy Rules 6004(h) and 6006(d) are
waived and this Order shall be effective and enforceable immediately upon entry.

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